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                                                                               UNITED STATES DISTRICT COURT
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                                                                                     SUEBEITIA. CLERK
                                    Request for Media Blogging

  The undersigned requests that the court allow blogging during the proceeding(s) described
  below. Requests must be emailed to the presiding judge's email address for orders. For matters
  calendared at least 28 days in advance,requests must be received by the court 14 days prior to the
  start ofthe proceeding. For matters calendared less than 28 days in advance, requests must be
  made as soon as practicable.


   Case Name: USA V. Katherine Kealoha                    Case No.     1:18-cr-00068-JMS-RLP
   Presiding District or Magistrate Judge:      Puglisi
   Media Outlet:          Honolulu Civif Beat
   Representative(s):     Terri Langford
   Email Address To Send Completed Request Form:tlanqford@clvHbeat.orq
  □ Permission being sought for the following hearing(s):

                        Date             Time              Hearing Type
                   10/23/2018       2:00 PM       Motion to Continue Trial




  DATED:       Oct. 15, 2018 SIGNATURE:
                                    PRINTED NAME: Terri Langford


 IT IS so ORDERED.


0^PROVED I I APPROVED AS MODIFIED QdHNIED
                          OCT 1 6 2018
  DATED:
